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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


  ESTATE OF GEORGE BERNARD                 Case No. 4:22-cv-11009
  WORRELL, JR.,
                                           District Judge F. Kay Behm
               Plaintiff,
  v.                                       Magistrate Judge David R. Grand
  THANG, INC., and GEORGE
  CLINTON,

             Defendants.
 _________________________________________________________________/
       DEFENDANT THANG, INC.’S AND CLINTON’S MOTION FOR
         SUMMARY JUDGMENT PURSUANT TO FED.R.CIV.P 56


 Defendant Thang, Inc. and Clinton through their attorneys, Schenk & Bruetsch,

 PLC, move this Honorable Court pursuant to FED.R.CIV.P 56 and for their motion

 rely upon the accompanying brief.



                                     Respectfully submitted:
                                     SCHENK & BRUETSCH PLC

                                     By: /s/ James P. Allen, Sr.
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                                     Attorneys for Defendants
                                     March 26, 202
                                       1
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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


  ESTATE OF GEORGE BERNARD              Case No. 4:22-cv-11009
  WORRELL, JR.,
                                        District Judge F. Kay Behm
               Plaintiff,
  v.                                    Magistrate Judge David R. Grand
  THANG, INC., and GEORGE
  CLINTON,

             Defendants.
 _________________________________________________________________/
       BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY

                                JUDGMENT

        Defendants, THANG, INC. and GEORGE CLINTON, through their

 attorneys, SCHENK & BRUETSCH, PLC, by JAMES P. ALLEN, SR. and for

 their BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMERY

 JUDGMENT, states the following:
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                 STATEMENT OF QUESTIONS PRESENTED


         I.   ARE PLAINATAIFF’S CLAIMS TIME BARRED WHERE (1) THEY
              WERE BROUGHT MORE THAN THREE YEARS AFTER THEY
              ACCRUED; (2) PLAINTIFF WAS PRESENT FOR THEIR
              CREATION DECADES AGO; (3) THOSE CLAIMS WERE
              REPUDIATED IN MULTIPLE WAYS; and (4) PLAINTIFF AND ITS
              REPRESENTATIVES EXPRESSLY ACKNOWLEDGED ACCRUAL
              OF THEIR CLAIMS?

 Plaintiff answers: No

 Defendants answers: Yes



        II.   ARE DEFENDANTS ENTITLED TO SUMMARY JUDGMENT
              WHERE THEY HAVE FAILED TO ADDUCE SUFFICIENT
              EVIDENCE OF THE PARTIES’ MUTUAL INTENT TO BE
              CONSIDERED CO-CREATORS AT THE TIME EACH
              INDIVIDUAL RECORDING WAS CREATED?

 Plaintiff answers: No

 Defendants answers: Yes



       III.   ARE DEFENDANTS ENTITLED TO SUMMARY JUDGMENT FOR
              WORKS TRANSFERRED IN THE SETTLEMENT AGREEMENT
              BETWEEN PLAINTIFF AND DISMISSED DEFENDANT
              WESTBOUND RECORDS, INC?

 Plaintiff answers: No

 Defendants answers: Yes



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       IV.   IS DEFENDANT CLINTON ENTITLED TO SUMMARY
             JUDGMENT ON THE BASIS OF THE RELEASE OF “ALL
             EMPLOYEES” OF WESTBOUND RECORDS, INC. WHERE THE
             RECORD SHOWS THAT CLINTON WAS BRIEFLY EMPLOYED
             BY WESTBOUND IN FEBRUARY AND MARCH OF 1974?

 Plaintiff answers: No

 Defendants answers: Yes




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 3 Melville B. Nimmer & David Nimmer, Nimmer on Copyright § 12.05[C][1]
 (2024)

 1 Nimmer on Copyright § 6.07

 1 Melville B. Nimmer et al., Nimmer on Copyright § 6.12(C)(1) (2023




                                        x
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      I.      STATEMENT OF MATERIAL FACTS

 PART 1—The Contracts

 1.        Defendant George Clinton (“Clinton”) founded The Parliaments in 1956 when

 Plaintiff’s decedent, Bernie Worrell (“Worrell”) was twelve years old. Ex. I, Clinton

 Decl., ¶ 3.

 2.        About thirteen years later, Worrell began playing keyboards for some bands

 George Clinton founded. ECF No. 1, PageID.11. His wife, Judie Worrell, was his

 manager and negotiated his first contract with Clinton’s company, Thang, Inc. Ex.

 A, Judie Worrell Dep. Tr. at 10-12. Neither party found an executed copy of it.

 Plaintiff conveniently claims it “lost a significant amount of documentation in 2015

 when a tree came down in a storm and several boxes of files were destroyed.” ECF

 No. 89-1, PageID.1178, Plaintiff offered no accounting of the contents of the boxes

 allegedly lost in 2015 but in May 2017 claimed she found some materials related to

 Clinton while “cataloging and unpacking more boxes.” Ex. B, May 28, 2007 Judie

 Worrell Facebook post. And yet, she testified the documents Defendants requested-

 -what she described as “business documents” -- had “disintegrated” after a tree

 smashed an RV where they were and got them wet. ECF No. 88-3, PageID.1067.

 3.        The oldest evidence of a written agreement involving Worrell came from

 union contracts which, according to their plain meaning, make clear that Worrell was

 regularly hired as a union employee of the record companies that presently have title

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 to most of the sound recordings at issue. The contracts, all from American Federation

 of Musicians, Local 5 (“AFM”) cover some of the bands’ work in Detroit studios for

 a period from at least 1974 to 1978. Contractual records from other AFM

 jurisdictions were not located, but the ones that have been state Worrell was an

 employee hired by the various record companies like Westbound Records

 (“Westbound”), holder of many of the copyrights at issue here. It states in standard

 “work-for-hire” language:

       [T]he employer hires the employees as musicians severally on the terms
       and conditions below and as further specified on the reverse side [which
       applied only to pension payments]. The leader represents that the
       employees already designated have agreed to be bound by said terms
       and conditions. Each employee yet to be chosen shall be so bound by
       said terms and conditions upon agreeing to accept his employment.
       Each employee may enforce this agreement. The employees severally
       agree to render collectively to the employer services as musicians. . .”
       ECF No. 88-7, PageID.1119-1148.

 4.    In 1979, Worrell audited Thang to account for all money due and owing to

 him from Clinton based upon the existence of a contract. Worrell’s audit references

 a 1976 contract and claimed a less than 1% of artist’s royalty for him. Ex. C, Audit.

 5.    In 1981, Worrell sued Clinton and others for money the above audit claimed

 had not been paid according to the 1976 contract. Ex. D. The verified complaint in

 that action claimed he entered into a written contract covering his compensation with

 Clinton and his various bands. Id. at 2. Although the extant copies of that complaint

 do not have the attached contract, Worrell swore under oath that a contract, in fact,


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 existed and that it used work-for-hire language similar to the AFM agreements.

 Significantly, Worrell’s verified complaint alleges Thang “engaged [Worrell] to

 render certain phonographic recordings” and that Worrell “render[ed] such artistic

 musical services to Thang,” again, classic work-for-hire language. Id.

 6.    In 1982, Worrell entered into another agreement to settle the 1981 litigation

 which Clinton and Worrell both signed. Ex. E, 1984 Complaint with attached

 agreements, at 16. That agreement references a “General Release Agreement

 between Bernie Worrell, Defendants” and another record company. Id. This

 agreement reconciled the parties’ respective accounts through 1982 reinforced the

 notion that the AFM and 1976 contracts compensated Plaintiff for the provision of

 his musical services (i.e., status as a work-for-hire musician). It gives Plaintiff no

 interest in the sound recordings in this case.

 7.    Another verified complaint, filed in 1984, also contains several breach of

 contract claims, alleging Worrell had not received compensation for contractual

 services he rendered to Clinton and his companies. Id. at 1-13.

 8.     In 1994, as part of litigation between two record companies over many of the

 same sound recordings at issue in this case, the Court appointed a special master to

 oversee distribution of royalties to Clinton and other band members while the record

 companies battled. See, Tercer Mundo Inc v. Boladian, et al; Case No. 93-cv-04106-

 R, (C.D. Cal.). In correspondence to the special master, Mrs. Worrell made many of


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 the same allegations the Estate is making in this case blaming Armen Boladian,

 owner of many copyrights at issue in this litigation. ECF No. 88-4, PageID.1078.

 Boladian testified he could not remember paying Clinton royalties in the last 14

 years. ECF No. 112-8, PageID.2472.

 9.    Boladian’s long-time Nashville law firm, King & Ballow, represents Plaintiff

 in Whatcom County, Washington, hired Plaintiff’s proffered expert witness, Robert

 Kohn, filed suit in New York on behalf of the estate in 2019, and has acted as both

 the estate’s counsel in settling with former defendant Westbound, and finally as

 Boladian’s counsel, defending his deposition in this case. ECF No. 112-6,

 PageID.2061; ECF No. 112-8, PageID.2387; ECF No. 1-2, PageID.33.

 10.   In 2019, Worrell filed another lawsuit, again asserting the breach of a January

 1, 1976 recording contract between Worrell and Defendant Thang. ECF No. 1-2,

 PageID.33. Worrell swore it was a “true and correct copy of the Agreement.” Id.,

 PageID.35. It states he was a paid “individually, or as a member of a group, in the

 production of phonographic records under the Agreement.” Id. Worrell claimed a

 small share of royalty payments (3/4 of one percent) “for his participation in the

 creation of the phonographic records” at issue in the present case. Id.

 11.   Mrs. Worrell testified in this case, consistent with her many public statements,

 that, as Worrell’s manager (Ex. A, at 10-12), she negotiated his first and subsequent

 contracts, a fact which squares, at least in part, with a billing entry produced in this


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 lawsuit from one of Mr. Clinton’s former attorneys, alluding to a conference this

 lawyer had with the Worrells to negotiate a contract. Ex. F, Meibach Invoice.

 12.   Numerous payment records and vouchers establish that Worrell was paid

 consistent with the terms of the contract he had with Defendants. Ex. G.

 Part II      Ownership of Sound Recordings

 13.   Clinton owns sound recordings for only four albums. In a lawsuit involving

 Clinton, a former manager, and other members of Parliament-Funkadelic about those

 albums originally released by Warner Brothers, U.S. District Judge Manuel Real

 found:

       Clinton created the master recordings for the Funkadelic albums “Hard
       Core Jollies,” “One Nation under a Grove,” “Uncle Jam Wants You,”
       and “Electric Spanking of War Babies” and certain live performances
       of said albums, pursuant to the Warner Bros. agreement. Ex. H.

 14.   Judge Real also found that Clinton:

        entered into a settlement with Warner Bros. which provided, among
       other things, that Warner Bros. would relinquish its ownership and
       control of the Masters to Clinton if a third party distributor agreed in
       writing to pay Warner Bros. a royalty of 5% of net sales of albums that
       embodied the Masters; the settlement further provided that, when
       Warner Bros. had received a total of $283,333.34, the royalty payments
       would cease. Id. at 2.
 15.   Finally, with regard to the timing of his acquisition, Judge Real ruled “Clinton

 is the sole owner of all rights in and to the Masters, and the live performances of said

 albums, and has been the sole owner of said rights since 1993.” Id. at 8, ¶ 13.




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 16.    While Boladian could not remember when his companies stopped paying

 Clinton for the tracks over which Boladian claims ownership, he did recall that

 Clinton is not currently and has not for “quite a while” been receiving any such

 payments from Boladian’s companies. ECF No. 112-8, PageID.2472.

 Part III No Mutual Intent

 17.     Clinton had final authority on creative issues for the bands he founded. Ex.

 I, ¶ 8. He hired musicians for the band and made personnel decisions about who

 would play on the bands’ records. He was also responsible for the business affairs

 of the bands and had ultimate legal and financial responsibility for those decisions.

 He negotiated and entered into the bands’ various recording agreements. Id. ¶ 10, 11.

 18.    At no time did Clinton award or intend to award ownership interests in sound

 recordings. Indeed, he only received title to some of those master recordings after

 years of litigation and negotiation that he alone financed. Id.; Ex. H.

 19.    Some time between 1972 and 1974, the bands’ various members, including

 Worrell, received letters advising them that they were employees hired to provide

 his bands their musical services. Ex. I, ¶ 15. No member of the band received any

 interest in sound recordings that Clinton himself is still some fifty plus years trying

 to obtain. Id. ¶ 13.

 20.    Clinton and Worrell had a discussion shortly before Worrell died in which

 Worrell requested, among other things, an ownership interest in the sampling


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 revenue from the bands’ sound recordings. Clinton told Worrell that he could not

 and would not honor that request, offering instead to assist in other ways. Id. ¶ 15.

 Part IV Settlement between Plaintiff and Westbound

 21.         In December 2023, Plaintiff entered into a Settlement Agreement

 (“Agreement”) with Westbound Records in this case assigning the estate’s interest

 in many of the most valuable tracks at issue here. ECF No. 112-6, PageID.2061.

 22.         The Agreement releases “all” employees of Westbound “from the beginning

 of the world to present.” Id., .2062. Clinton did not have extensive employment with

 Westbound. Boladian signed AFM contracts (ECF No. 88-7, PageID.1121-.1125,

 1127, 1128) in February/March 1976 that claim Clinton as a Westbound employee.

 23.         Boladian and related parties specifically preserved their right to sue Clinton,

 but Plaintiff made no such reservation of its right to sue Clinton, rather agreeing to

 release “all” Westbound employees “from the beginning of the World.” ECF No.

 112-6, PageID.2061-2062.

       II.      STANDARD: SUMMARY JUDGMENT

             Summary judgment is appropriate when “no genuine dispute as to any

 material fact” exists, and the moving party “is entitled to judgment as a matter of

 law.” Fed. R. Civ. P. 56(a). “A genuine dispute of material fact exists ‘if the evidence

 is such that a reasonable jury could return a verdict for the nonmoving party.’” Peffer

 v. Stephens, 880 F.3d 256, 262 (6th Cir. 2018) (quoting Anderson v. Liberty Lobby,


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 Inc., 477 U.S. 242, 248 (1986)). At the summary judgment stage, “the evidence is

 construed and all reasonable inferences are drawn in favor of the nonmoving party.”

 Burgess v. Fischer, 735 F.3d 462, 471 (6th Cir. 2013) (citation omitted).

    III.  ARGUMENT
          A. THE COPYRIGHT ACT’S THREE-YEAR STATUTE OF
             LIMITATIONS BARS PLAINTIFF’s CLAIMS
       1. Introduction: Statute of Limitations – Three Years from Accrual of a
          Co-Author’s Claim
       The Estate sued because Bernie Worrell “collaborated with Clinton as a

 songwriter, musician, producer, and performer on the majority of songs that were

 recorded in the 1970s and 1980s.” DE1 at ¶3, PageID.2. Attached to the Complaint

 as Exhibit D is a listing of albums and songs for which the Estate is claiming co-

 authorship – it is 264 songs long, and those songs span roughly from 1969 to 1982.

 DE1 at Exh. , PageID.55-63. The Complaint alleges “Worrell was at all times a joint

 owner of the master recordings of the Works whose interest therein now rightfully

 belongs to Plaintiff.” DE1 at ¶16, PageID.7. Thus, the Estate brought suit in 2022

 claiming that it is and always has been a co-author of Sound Recordings produced

 decades prior. The Copyright Act’s three-year statute of limitations bars them all.

       17 U.S.C. § 507(b) provides: “[n]o civil action shall be maintained ... unless…

 commenced within three years after the claim accrued.” Ownership claims “accrues

 only once, and if an action is not brought within three years of accrual, it is forever

 barred.” Roger Miller Music v. Sony/ATV Publ’g, 477 F.3d 383, 390 (6th Cir. 2007).

 The question is when, during the half century since creation of the recordings, did
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 Worrell’s claims accrue? Under all approaches to accrual, the answer, as a matter of

 law, is before 2019, making the 2022 filing untimely.

       Co-authorship accrual doctrine has three archetypes, two of them relevant

 here. In one, an artist is present at the outset of creation and put on notice of the

 need to assert co-authorship by that fact. See Merchant v. Levy, 92 F.3d 51, 56 (2d

 Cir.1996) (“[N]o ... uncertainty exists as to co-ownership rights based on co-

 authorship. A co-author knows that he or she jointly created a work from the moment

 of its creation.”). Another archetype, not relevant, is that of a lost heir to an artist

 asserting rights upon learning of their ancestor’s co-authorship--the heir would not

 have been present at creation. See, Stone v. Williams, 970 F.2d 1043, 1050 (2d Cir.

 1992) (Hank Williams’s illegitimate daughter sued for share of his renewal copyright

 royalties). Finally, there is the archetype of artists, both present at creation and

 apparently agreeing to co-authorship for a period, but suffering a falling-out leading

 to one artist repudiating the other’s status as co-author. The leading (and binding)

 case is Everly v. Everly, 958 F.3d 442 (6th Cir. 2020). The Everly Brothers,

 longstanding musical collaborators, apparently shared co-authorship of the song

 Cathy’s Clown, then suffered a falling-out leading one to assert sole authorship.

       As demonstrated below, there have been many events over the last half

 century that independently show accrual of Plaintiff’s time-barred claims:

              •   The copyright registrations of the Sound Recordings themselves,
                  none of which reflect Worrell as a co-author
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              The royalty payments – none of which reflect Worrell being
              •
              compensated as a co-author
           • The Audits – none of which reflect unpaid sound recording royalties
              that would have been due Worrell as a co-author
           • The 1982 Novation – which settled all claims then existing between
              the parties which necessarily includes any claim by Worrell that he
              was a co-author of the Sound Recordings
           • Clinton’s 2014 Autobiography – which attributes authorship of
              Sound Recordings to Clinton with Worrell as one of many
              accompanying artists
 Any one of these facts constitutes accrual, as a matter of law under binding

 precedent, making the 2022 filing barred under 17 U.S.C. § 507(b).

       2. Worrell Was Present for the Creation of the Sound Recordings
          Thereby Accruing Co-Authorship Claims in the 1970s and 1980s

       This case is the archetype of a performer contributing to a contemporaneously

 copyrighted and commercially sold recording without ever contemporaneously

 securing copyright credits or royalties. The Complaint itself alleges “Mr. Worrell

 performed, wrote, and produced on all albums by the groups Parliament and

 Funkadelic.” DE1 at ¶44 (PageID.14) (emphasis added). Plaintiff did not just wake

 up one day and become aware that Mr. Worrell’s work was included in sound

 recordings as to which he was not being attributed co-author status. Bernie and Judie

 Worrell were aware – on a song-by-song and album-by-album basis – when his work

 was included on sound recordings that are the subject of this action.

       Thus, the three-year statute of limitations for these recordings started running

 – depending upon the song – in the 70s and 80s when Worrell contributed to them.

 It expired for all songs listed in Exhibit D well before 1990. A claim accrues when
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 “the plaintiff ‘knows or has reason to know of the injury which is the basis for the

 claim.’” Rodríguez-García v. Municipality of Caguas, 354 F.3d 91, 96-97 (1st Cir.

 2004) (quoting Rodríguez Nárvaez v. Nazario, 895 F.2d 38, 41 n.5 (1st Cir. 1990)).

 Thus, a claim for declaratory judgment of ownership accrues when plaintiff “knew

 of the alleged grounds for the [ownership] claim.” Margo v. Weiss, 213 F.3d 55, 60-

 61 (2d Cir. 2000). See also, Merchant v. Levy, Supra., at 56 (“[N]o ... uncertainty

 exists as to co-ownership rights based on co-authorship. A co-author knows that he

 or she jointly created a work from the moment of its creation.”) (emphasis added).

       In words that perfectly fit our facts, the First Circuit emphasized that “[i]t goes

 without saying that Santa Rosa was present when his performances were recorded

 by Combo Records, and thus knew from the moment that each recording was created

 that he had a potential claim for ownership of it.” Santa-Rosa v. Combo Records,

 471 F.3d 224, 228 (1st Cir. 2006). “Thus, there is little question that Santa Rosa’s

 claims for co-ownership accrued as soon as he finished recording each album.” Id.

       This rule – specific to recording artists present for the creation of master

 works – is directly on point and mandates accrual dates spanning the 70s and 80s –

 decades before the instant filing. Mr. Worrell was not credited on copyrights

 contemporaneously, and he was aware of this. If he took issue with it, he had three

 years from each recording to challenge the situation. He did not. These claims fit

 squarely within the framework of Santa-Rosa and its progeny, and they are barred.


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       3. Worrell Was Subject to Multiple Forms of Repudiation of Any
          Possible Rights

       Even if Worrell had asserted a co-creator copyright claim when the songs

 were created, he could still have lost it in ensuing years by the process known as

 “repudiation.” The Sixth Circuit’s treatment of the Everly Brothers’ falling-out

 instructs. These Artists had a longstanding and close musical collaboration when

 they produced “Cathy’s Clown.” Everly, 958 F.3d at 445. To all outward

 appearances, unlike Worrell, they shared copyright credit and royalties for the

 twenty years following the song’s creation (c. 1961-1980). Id. at 469. “The original

 copyrights to the Compositions listed Phil and Don as authors, and the brothers were

 credited as co-authors, each receiving royalties.” Id. at 445. They took joint credit in

 award shows in 1961, 1972 and 1975. Id. Then, they had a falling-out, stopped

 speaking, and testimony had Don demanding that Phil “‘take his name off’ the song”

 in 1980. Id. With the record on the verbal interactions “unclear,” the brothers entered

 into various termination agreements, and they and their heirs sued. Id. at 446-47.

       The district court granted summary judgment. The Sixth Circuit reversed,

 holding “the statutory period for any action to establish ownership begins to run

 whenever there is a ‘plain and express repudiation’ of ownership by one party as

 against the other.” Everly, 958 F.3d at 450 (quoting Ritchie v. Williams, 395 F.3d 283,

 288 n.5 (6th Cir. 2005) (quoting Aalmuhammed v. Lee, 202 F.3d 1227, 1230-31 (9th

 Cir. 2000)). The Court’s focused on the “plain-ness” that Don repudiated Phil’s co-
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 authorship and concluded “there is a genuine factual dispute as to whether the 1980

 Release reflected a repudiation of Phil’s authorship or rather a voluntary transfer of

 certain ownership rights, possibly including the right to receive public credit, for

 Cathy’s Clown.” Id. at 455. On remand, the district court held a bench trial deeming

 the claims time-barred by a 1980 phone call and memorialization, a judgment upheld

 on the second appeal. Garza v. Everly, 59 F.4th 876, 882 (6th Cir. 2023).

       If this case is viewed through the Everly repudiation lens – as opposed to the

 Santa Rosa contemporaneous recording lens – Plaintiff’s claims still accrued well

 before 2020 due to the many ways in which any assertion of co-authorship was

 repudiated in the years between 1970 and 2019. The relevant factual inquiry – and

 one on which there is no dispute – is the many forms and instances in which

 Worrell’s sound-recording co-authorship claims have been repudiated over the years.

       Repudiation of co-authorship is universally understood to resemble the

 process of adverse possession in real property. See generally 3 Melville B. Nimmer

 & David Nimmer, Nimmer on Copyright § 12.05[C][1] (2024); Everly, 958 F.3d at

 451 (“An ownership claim therefore must be brought within three years after the

 purported owner’s status as such is challenged by a party with a competing claim of

 ownership.”). “The most straightforward means of repudiating a claim is a direct

 statement from one party to another claiming exclusive rights to the work.” Id.

 Illustrating this is Ritchie, in which Kid Rock sent a letter to his former promoter


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 claiming exclusive ownership of his songs, thereby expressly repudiating the

 promoter’s contrary claims. Ritchie, 395 F.3d at 289-90. Similarly, in Zuill, the

 creator of “Hooked on Phonics” claimed sole ownership in the compensation

 agreement between himself and the plaintiff and provided the plaintiff with a copy

 of the product stating that Zuill’s company owned the copyright. Zuill v. Shanahan,

 80 F.3d 1366, 1368-71 (9th Cir. 1996).

       Repudiation also occurs when “the work is published but the plaintiff is not

 appropriately credited.” Everly, 958 F.3d at 452. Prototypical is Aalmuhammed, 202

 F.3d at 1230-31, cited with approval by the Sixth Circuit in Everly, 958 F.3d at 452.

 In Aalmuhammed, a plaintiff sought ownership of movie rights as an author. Id. at

 1230. But the movie’s credits only “list[ed] [him] far below the more prominent

 names, as an ‘Islamic technical consultant.’” Id. at 1231. This designation in the

 movie credits was an open challenge to plaintiff’s claimed status as co-author and

 therefore triggered the statute of limitations. Id.

       Finally, courts have found that a co-owner’s claim may be repudiated when

 she learns she is entitled to royalties she is not receiving. Everly, 958 F.3d at 452,

 citing Mahan v. Roc Nation, LLC, 634 F. App’x 329, 331 (2d Cir. 2016); Merchant

 v. Levy, 92 F.3d 51, 56-57 (2d Cir. 1996); Santa-Rosa, 471 F.3d at 228.

       It is important to note, as the Sixth Circuit pointed out, that these cases

 involved repudiation of ownership, not authorship. However, the Circuit


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 simultaneously held that the standard for repudiation was identical in both situations,

 while pointing out critical policy rationales that are particularly pertinent here.

 Everly, 958 F.3d at 452-53 (“Allowing authors to sleep on their rights even after they

 have been repudiated would inject instability into an area of copyright law that calls

 out for certainty.”). Further, “[i]t is inequitable to allow the putative co-owner to lie

 in the weeds for years after his claim has been repudiated, while large amounts of

 money are spent developing a market for the copyrighted material, and then pounce

 on the prize after it has been brought in by another’s effort.” Zuill, 80 F.3d at 1371.

       The party claiming sole authorship can repudiate authorship (1) privately in

 direct communication with rivals, see Ritchie, 395 F.3d at 287; Zuill, 80 F.3d at 1368,

 1371; (2)publicly by asserting sole authorship to the world and plaintiff, including

 by listed credit on the published work, see Kwan, 634 F.3d at 229; Aalmuhammed,

 202 F.3d at 1230; or (3) implicitly by receiving remuneration for works to which

 plaintiff is entitled, see Mahan, 634 F. App’x at 331; Merchant, 92 F.3d at 56-57. To

 repudiate claims under the latter two theories, the receipt of money and credit must

 actually be adverse to the plaintiff’s authorship status. See Brownstein v. Lindsay,

 742 F.3d 55, 72 (3d Cir. 2014) (“It follows that, if an action is not hostile to an

 author’s rights, it may not be plain that his authorship rights have been repudiated.”).

       Here, as a matter of undisputed fact, there are multiple instances of all three

 forms of repudiation. The pattern of repudiation of Worrell’s co-authorship of the


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 sound recordings is so longstanding, pervasive, distinctive and beyond factual

 dispute as to independently warrant summary judgment on any one of several bases.

       a.     Clinton stated to Mr. Worrell that Clinton was the sole author of
              each of the albums and songs at issue.

       Clinton discussed with Worrell the issue of sound recording royalties in one

 of their final phone calls. Clinton advised Worrell that he did not recognize Worrell’s

 rights to them, offering instead to help him protect his rights to publishing royalties.

 Ex I at ¶ 14-15.

       b. Clinton publicly asserted sole authorship to the world and Plaintiff,
          including the listed credit on Sound Recordings in his autobiography.

       Clinton (or entities to which Clinton assigned ownership) publicly took credit

 for the recordings here since the 1970s in myriad media. Most fundamentally,

 copyrights for the recordings at issue were all registered in names other than

 Plaintiff’s, primarily record companies which still retain legal title. And Clinton’s

 autobiography further made plain to the world (and to Plaintiff, who has specific

 knowledge of it) Clinton openly and notoriously claimed sole authorship of them.

       Attached as Exhibit J is a spreadsheet listing available sound recording

 copyright registration information for many of the albums at issue in this litigation.

 In each instance, it is a person or entity other than Bernie Worrell. These copyrights

 have been publicly available for decades. This is public repudiation.




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        Cambridge Literary Properties, Ltd. v. W. Goebel Porzellanfabrik G.m.b.h. &

 Co. KG, 510 F.3d 77, 90-91 (1st Cir. 2007), is instructive. There, the owner of a book

 brought suit for co-ownership and accounting for sales of related figurines and

 images. Id. at 80. The Court dismissed on statute of limitations grounds because it

 deemed the claims to have accrued more than three years before filing based on facts

 also present here. Two facts independently caused the claims to accrue. First

 “[p]ublicly available documents in the Copyright Office and prior litigation cast

 doubt on Cermanovic-Kuzmanovic's rights in Das Hummel–Buch.” Id. at 91. Then,

 too, “Goebel engaged in widespread exploitation of at least some portion of those

 rights, such as its use of The Merry Wanderer, without remuneration to Cermanovic-

 Kuzmanovic.” Id. Both are plainly true of Worrell’s claims: i) the copyrights did not

 list Worrell as a co-author; and ii) Clinton (or his assignees) had been widely

 exploited some portion of those rights since the 1970s without paying Worrell.

        Nor does this conclusion change because the medium here is sound

  recordings. In Santa-Rosa, 471 F.3d 224, a singer sued Combo Records for the sales

  of five albums recorded 15 years previously. As a backup to its present-for-creation

  analysis, the count for co-ownership was deemed time-barred because:

        [W]e cannot think of a more plain and express repudiation of co-ownership
        than the fact that Combo openly, and quite notoriously, sold Santa Rosa’s
        records without providing payment to him: according to documents provided
        by Santa Rosa, at least 1,140 of the recordings in dispute were sold during the
        six month period between January and June of 2000, almost four years before
        Santa Rosa filed suit in May 2004. Likewise, it is hard to believe that a singer
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        of Santa Rosa’s stature would have been unaware that Combo Records was
        selling his recordings and thus claiming ownership over them until three years
        before this action was commenced.
 Id. at 228 (emphasis added). So here, except there is no need to impute knowledge

 of the sales to the Worrells – they openly lamented it. See, Ford v. Ray, 130 F.

 Supp.3d 1358, 1361-62 (W.D. Wash. 2015). See Ex. Q, 1995 Declaration of Bernie

 Worrell at ¶ 3 (“Defendants have never provided me with a proper accounting of the

 royalties which I am owed nor made proper payment to me of those royalties…”).

       The body of caselaw finding accrual because an artist has been left out of the

 copyright and royalty process mandates the same result here. “[O]nce an author

 registers his copyright, any co-author exercising reasonable diligence should be

 aware that another person has claimed authorship and thus know of his alleged

 injury.” Willsea v. Theis, 1999 WL 595629, *5 (S.D.N.Y. Aug. 6, 1999); see Warrick

 v. Roberts, 34 F. Supp.3d 913, 924 (N.D. Ill. 2014); Diamond v. Gillis, 357 F.

 Supp.2d 1003, 1007 (E.D. Mich. 2005); Margo v. Weiss, 1998 WL 2558, *5

 (S.D.N.Y. Jan. 5, 1998); Brand v. RMM, 2011 WL 1496344, *4 (S.D.N.Y. Apr. 18,

 2011); Aalmuhammed, 202 F.3d at 1231; Saenger Org., Inc., v. Nationwide Ins.

 Licensing Assocs., Inc., 119 F.3d 55, 66 (1st Cir. 1997); see also Straughter v.

 Concord Music, No. ED CV 19-1360-JFW (SHKx), 2020 WL 6821313, at *4-5

 (C.D. Cal. Oct. 13, 2020) (finding clear and express repudiation where a party

 obtained a copyright registration and a mechanical license for music royalties).



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       Moreover, Clinton, for decades, has taken credit for the sound recordings at

 issue as the leader of the P-Funk movement and Parliament-Funkadelic. He has done

 this openly and notoriously in multiple forms of media, most notably in his

 Autobiography. In 2014 George Clinton published an autobiography entitled

 Brothers Be Yo Like George that gave credit to Bernie Worrell as a member of

 Parliament-Funkadelic, but conspicuously not as a co-author of any of the Sound

 Recordings at issue. Atria © 2014. Clinton’s autobiography generally tells the story

 of Clinton forming and leading a series of bands culminating in Parliament and

 Funkadelic and developing a style of music known as P-funk. Along with Walter

 “Junie” Morrison, Bernie Worrell was a keyboard player in Parliament and

 Funkadelic in the 1970s and 80s. See generally id. at 125-50, 210. But, critically, the

 Autobiography tells the story of a band – a band led by George Clinton throughout

 its existence and composed of many members of which Bernie Worrel was but one.

 It expressly and implicitly repudiates Worrell’s co-authorship claims in 2014.

       Contrary to the portrayals in plaintiff’s expert reports, Clinton’s

 Autobiography clearly explains Bernie Worrell’s role as a talented keyboard artist.

 It does not credit him as a “co-author” except on special albums/projects that were

 special and unique to Mr. Worrell. The contrast between the two – Worrell’s lack of

 co-authorship credit for general Parliament-Funkadelic works and his express credit

 for his solo projects – shows the repudiation contained in Clinton’s Autobiography.


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       Appendix A of the Autobiography contains a Selected Discography which lists

 the disputed albums under a prominent legend reading: “The following recordings

 include significant contributions from George Clinton, as songwriter, producer,

 vocalist, bandleader, or some combination of the four. Album titles are in italics.

 Single titles are in quotation marks.” Autobiography at Appendix A. The Albums at

 issue in this litigation are listed, and none of them credit Bernie Worrell. But then,

 under the year 1978, is listed All the Woo in the World, and Bernie Worrell is

 prominently credited.1 Autobiography at 364. This is express repudiation of any

 copyrightable credit for the Parliament-Funkadelic albums not attributed to Bernie

 Worrell. It was published to the world in 2014. Clinton’s Autobiography plainly,

 openly and notoriously attributes one album to Bernie Worrell and refuses to do the

 same for those his Estate claims for now. This is public, express repudiation of the

 Estate’s current, contrary claims, and it occurred in 2014.2

       c. Clinton implicitly repudiated Worrell’s co-authorship by receiving
          remuneration for the Sound Recordings and failing to pay Worrell as
          a co-author – facts made clear to Worrell repeatedly over decades.
       Assume, for the sake of argument, that Worrell and/or his Estate were entitled

 to co-author status of the Sound Recordings when made. The ensuing years saw a



 1
   Clinton does not contest that Worrell should have an ownership interest in the
 sound recordings of this album, but Clinton does not hold title to it.
 2
   Worrell offered frequent criticisms of the biography and claimed intimate
 familiarity with its contents at her deposition where she was able to quote the page
 number of a certain passage related to her contribution to lyrics in two songs. Ex. A.
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 simply staggering amount of litigation and audits of royalty rights by, between and

 among Clinton, Worrell, and related music companies. Any one of these events

 would suffice to demonstrate to Worrell that Clinton – or Clinton’s assignees – were

 receiving the sound recording royalties now being claimed by Worrell in a manner

 adverse to Worrell’s claims. In each instance, Worrell was confronted with a plain

 statement of his entitlement to any share in the universe of music – including each

 of the Sound Recordings at issue – and in none of them were the rights now being

 claimed ever acknowledged in any way. Each instance is thus plainly a repudiation

 sufficient to trigger accrual of the three-year statute of limitation.

       i. The 1981 New York State Suit

       In 1981, Worrell sued Thang, Inc., Malbiz Music, Inc., and George Clinton

 seeking, inter alia, damages for breach of contract. Ex D. The verified Complaint

 sets forth Worrell’s relationship with Clinton and/or Clinton’s companies, describing

 a January 1976 Agreement between himself and Thang and that:

         In accordance with the terms of the said Agreement (Exhibit “A”), among
         other things, Defendant THANG did engage PLAINTIFF to render certain
         phonographic recordings and PLAINTIFF did further agree to accept such
         engagement and did render such artistic musical services to Defendant
         THANG.
 Id. at ¶9. This statement is adopted – under oath – by Worrell himself. Id. at 10. The

 Estate, through Judie Worrell, verified the authenticity of the document, the

 signature, and that it had no evidence to dispute the claims made in it. Ex A. at 23-



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 25. As early as 1981, Worrell admitted that his participation in the Sound Recordings

 was as work-for-hire pursuant to contract, not as a co-author.

       ii.    The 1984 California State Court Lawsuit

       Worrell sued Clinton and another of his companies in Los Angeles Superior

 Court in 1984, again using a verified Complaint that Judie Worrell affirmed was true

 when signed and affirmed remains true today. Ex. E; Ex. A at 45-46. The statements

 in the Complaint reveal that no one – neither Clinton nor Worrell nor any of the

 relevant corporations – understood Worrell to have co-author status in the prior

 decade’s worth of sound recordings. Specifically, the Complaint alleges multiple

 breach of contract counts against Clinton, his associates and his corporations. Ex.

 E. When expressing Worrell’s performance, it explains:

       Within the last four years, defendants became indebted to Worrell in the total
       sum of at least $180,000 for services performed by Worrell at the special
       request of defendants, namely, among others, as a recording artist, co-
       producer, session leader, writer/composer/arranger and entertainer.

 Ex. E at ¶26 (emphasis added). The same facts are reasserted at ¶29, and the

 Complaint also seeks an accounting. Id. at 10. Once again, the Worrells

 acknowledged that Bernie’s contribution was as work-for-hire, not a co-author.

       iii.   The 1982 Contract Novation

       Attached to Worrell’s 1984 verified Complaint in Los Angeles Superior Court

 is a signed, contractual document that settles all the respective rights and obligations

 between Clinton and his companies, on the one hand, and Worrell, on the other. Ex.
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 E at 16. The two-page, typewritten document is dated September 9, 1982 and is

 signed by Bernie Worrell. It recites that it “shall constitute our understanding with

 respect to sums owed to you for past services rendered to us, George Clinton and to

 all Mr. Clinton’s related companies.” Id. It agrees to pay Worrell $130,000. It also

 addresses “your personal contribution to future recordings and musical activities to

 George Clinton and related companies…” Id. And it cross references “the General

 Release Agreement between Bernie Worell, Thang, Inc., Malbiz Music Inc. and

 George Clinton dated September 9, 1982.” Id.

       Assuming either Clinton or Worrell understood Worrell to be a statutory co-

 author during his tenure with Clinton and his companies, the 1982 Novation is a

 definitive and express repudiation of such status. It is in writing and signed by both

 parties, albeit through an agent for Clinton on his side. Nor is there any doubt that

 statements by those acting on behalf of a putative co-author count for these purposes.

 See, Everly, 958 F.3d at 454 & n.10 (discussing actions of third parties on behalf of

 authors). It is facially a full reckoning of Worrell’s entitlement for past services to

 “George Clinton and related companies,” including a General Release. It references

 “past services rendered to us, George Clinton and to all Mr. Clinton’s related

 companies.” Ex. E at 16. Worrell’s argues – see Complaint at ¶¶16-18 (DE1) – that

 Worrell acquired copyrights in certain sound recordings because he did not have a

 contract with Clinton. The 1982 Novation is such a contract; it expresses Worrell’s


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 compensation for “services” without granting him any authorship or copyright rights

 and effectuates a total release of Clinton and his related companies. In effect, it wipes

 the slate clean of all the past dealings – contractual or otherwise – between Worrell

 and Clinton and Clinton’s related companies without securing any copyrights for

 Worrell. If Worrell could have reasonably understood himself entitled to co-

 authorship status in any sound recordings, the September 9, 1982 Novation flatly

 disabused him of that understanding.

       iv.    Regardless of the Triggering Facts, the Worrells Expressly
              Acknowledged Accrual of Their Co-Authorship Claims

       Another way in which co-authorship claims accrue is the express

 acknowledgment or awareness of a plaintiff more than three years before filing. Both

 Bernie and Judie Worrell repeatedly expressed not only their awareness that Worrell

 was not credited as a co-author and was receiving no sound-recording/artist royalties

 but their indignation with the situation and George Clinton. Any one instance of the

 Worrells acknowledging that they knew they were not receiving the artist royalties

 to which a co-creator would have been entitled would be sufficient to cause their

 copyright claims to accrue. As shown below, the Worrells have over the years raised

 complaining about their failure to receive such royalties nearly to the levels of an

 Olympic sport. Plaintiff’s claims are barred by the three-year statute of limitations.

       Typical of accrual established by announced awareness is Margo v. Weiss, 213

 F.3d 55 (2d Cir. 2000). There, members of the musical group the “Tokens” sought
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 co-authorship and co-ownership in the song “The Lion Sleeps Tonight,” but their

 deposition testimony showed that “they had first learned about the dispute between

 Folkways and the Defendants-Appellees from the public press in 1992,” yet brought

 suit four years later. Id. at 57-58. The time-bar was affirmed on appeal. Id.

        In this case, Judie Worrell, repeatedly and in writing, complained that she and

 her husband were not receiving royalties for sound recordings. In addition to the

  1980s and 90s litigation, Ms. Worrell maintained a website between June 2, 2016

  and September 1, 2016 entitled “Wooniversal Truths.” Ex. K. The entire thrust of

  Wooniversal Truths is that as to the performance royalties from Parliament-

  Funkadelic, “George stole it all and we will show what he did, not only to Bernie

  but to all members of original Parliament-Funkadelic.” Id. at 1. In the course of what

  Worrell views as theft, she recounts various contracts and alleges their breach by

  Clinton. See id. (“It was the first of many contracts/agreements that George would

 go on to break.”).

        These complaints are specific to the claims being made in this litigation. In

 June, 2016, Worrell complained:

        So, now, boys and girls, you see two instances of how Bernie and the original
        members of Parliament/Funkadelic were (and are) fleeced by George:

        Paying Artist Royalties then stopping – with never an explanation and to this
        day, not a single songwriter, musician, etc. from original P-Funk gets paid
        Artist Royalties on the work THEY made famous. Not a one. Not Bernie, Not
        Billy, Not Tiki, Not Eddie’s kid(s), not Ray Davis’ kids, Not Grady Thomas,
        Not Calvin Simon, Not Clarence Haskins, Not Tal – ONLY GEORGE.
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 Id. at 3. Worrell insists the public boycott Clinton and “PLEASE stop buying P-funk

 records, DVDs and CDs because nobody but George ever gets one red cent.” Id.

       Worrell emphasized her point that she told her husband that Clinton was

 “stealing” the rights at issue here when she advised him to avoid a “reunion” in

 “October 2014.” Id. Worrell states that Bernie withdrew from the reunion plans when

 he proposed a written agreement that “stated that Bernie will share in all ancillary

 income – from DVDs, CDs, films and any unknown media now or in the future.” Id.

 at 5. She further explains that this proposal was intended to remedy what she

 perceived as the injustice that Clinton was taking all the copyright royalties at issue:

    At that point, George backed off, Management pulled Bernie from the tour (over
    his vociferous objections until we showed him how much George had already
    stolen from him by not paying him his fair share of those that had already come
    out). Yes, ladies & gentlemen: while you are plunking down your hard earned
    dollars to buy your favorite group, George was busy hauling in the funky dollar
    bills and NOT sharing with those who made the MUSIC possible.

 Id. And then, she summarized the rights that Bernie Worrell was missing:

              •  Artist royalties [i.e. sound and video]
             • All income from DVDs, CDs, etc. betcha YOU thought you were
                 supporting everyone, right? Hell to the no – and THIS is the major
                 reason Bernie needed and needs Benefits performed on his behalf.
             • Session monies
             • Songwriter royalties/publishing royalties
 Id. (emphasis added).

       On September 1, 2016, Ms. Worrell complained again about Clinton’s taking

 sole credit for the various works at issue and “stealing” royalties from her husband:


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    And all of this, ladies and gentlemen, added to the loss of his Artist Royalties, is
    why Bernie needed to have Benefits done. Not because Bernie didn’t earn the
    money, but because it was stolen, misappropriated, misdirected, whatever
    verbiage floats your boat.

 Id. at 11.

        Bernie Worrell does not appear to have been as prolific a writer as Judie, but

 he publicly complained he was denied credit and royalties. In a video interview,

 Bernie Worrell was asked by the moderator about receiving a “nice pension” from

 sampling royalties. Ex. L Bernie Worrell on Parliament-Funkadelic, Synthesizers

 and P-Funk, Red Bull Music Academy: May 13, 2015 minute 1:29. He responds that

 is not the case, but its “one of the things being worked on now,” and tells the

 moderator not to continue because he doesn’t want to “get mad.” Id. In another

 interview, the interviewer asks him about copyright royalties, and he responds “I was

 beat” and “I didn’t get all the sampling moneys either…” and “resentments can

 poison you…” Bernie Worrell interview at the ASCAP Expo for Songwriters

 Vantage Jun 16, 2011 at 6:49-7:41. Ex. M.

        In summary, both Bernie and Judie Worrell demonstrated they were well

 aware their current claims had accrued more than three years before filing this suit.

 Plaintiff’s claims are barred by the statute of limitations.

    B. DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT
       BECAUSE PLAINTIFF FAILED TO ADDUCE EVIDENCE OF AN
       INTENT THAT WORRELL BE CONSIDERED A CO-CREATOR AT
       THE TIME EACH INDIVIDAL RECORDING WAS CREATED.


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       Plaintiff asserts joint ownership of over 260 sound recordings made between

 the late 1960s and the early 1980s. Plaintiff’s theorizes Worrell was one of the

 “integral members of Parliament and Funkadelic” during this period, but did not

 have a signed work-for-hire contract with Clinton or Thang. ECF 1, PageID.3, 6. On

 this basis, Plaintiff asserts Worrell should be deemed a “co-creator and joint owner”

 of the 264 sound recordings listed in the Complaint’s Exhibit E. Id., PageID.20.

       There is no legal precedent for such a theory of joint ownership. Plaintiff seeks

 to manufacture one through the purported expert testimony of an attorney, Bob

 Kohn, who opines that Worrell’s bandmember status entitles him to ownership of all

 sound recordings created by the band, regardless of Worrell’s individual

 contributions to each song, and even if he had no involvement with a particular song

 or, recognizing that many of the 264 recordings were performed by bands of which

 Worrell was not a member, even with the band that performed it. See ECF No. 128,

 PageID.2798. 3 Plaintiff also relies on the expert testimony of Dr. Ellen Exner, a

 musicologist who opines that Worrell was “essential” to the success of “every track”

 at issue in this litigation, based on her analysis of Worrell’s contributions on two of



 3
  Plaintiff’s theory also ignores the fact that the sound recordings at issue includes
 works by several bands besides Parliament and Funkadelic, and there is no
 evidence that Bernie Worrell was ever a member of these bands. These include
 Eddie Hazel’s solo project Game, Dames and Guitar Thangs; albums by the all-
 female bands the Brides of Funkenstein and Parlet; and Bootsy Collin’s Bootsy’s
 Rubber Band. ECF No. 1-6; Ex. J.
                                           28
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 the 264 Works listed in the Complaint. ECF No. 129-2. 4 Neither expert analyzed

 each of the Works at issue; instead, they both rely on the general assertion that

 Worrell provided Parliament and Funkadelic with a “structural foundation” that was

 “ever-present.” See ECF No. 128-2, PageID.2845; ECF No. 129-2, PageID.3166.

       A party claiming joint authorship has a higher legal and factual burden than

 the one Plaintiff presents. A “joint work” is “a work prepared by two or more authors

 with the intention that their contributions be merged into inseparable or

 interdependent parts of a unitary whole.” 17 U.S.C. § 101. Courts in the Sixth Circuit

 require “a party claiming joint authorship to show that (1) each party intended to be

 joint authors, and (2) each party made an independently copyrightable contribution

 to the work.” Corwin v. Quinonez, 858 F. Supp.2d 903, 910 (N.D. Ohio 2012) (citing

 Childress v. Taylor, 945 F.2d 500, 505-06 (2d Cir. 1991)); Thomson v. Larson, 147

 F.3d 195, 202 (2d Cir. 1998). See also Tang v. Putruss, 521 F. Supp.2d 600, 606 (E.D.

 Mich. 2007). As explained below, this showing must be made with respect to each

 individual Work. Plaintiff cannot satisfy these requirements.

       1. There is no evidence of mutual intent.

       To establish requisite intent, “it is not enough that the parties intend their

 contributions to be merged into inseparable or interdependent parts of a unitary



 4
  Neither expert report can survive Daubert scrutiny. Defendants have moved to
 strike the reports and preclude the testimony of both experts. ECF Nos. 128, 129.
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 whole.” Corwin, 858 F. Supp.2d at 912 (citation omitted). Rather, the “parties must

 entertain in their minds the concept of joint authorship.” Id. (quoting Childress, 945

 F.2d at 508). “This requirement of mutual intent recognizes that, since co-authors

 are afforded equal rights in the co-authored work, the equal sharing of rights should

 be reserved for relationships in which all participants fully intend to be joint

 authors.” Thomson, 147 F.3d at 201. Courts consider (1) how parties regarded

 themselves in relation to specific works; (2) contributor’s decision-making

 authority; (3) the authority to enter contracts with third parties; and(4) other

 additional pertinent evidence. Tang, 521 F. Supp.2d at 606 (citing Thomson, 147 F.3d

 at 202); Childress, 945 F.2d at 508.

       Plaintiff has no evidence that Worrell, Clinton, and the dozens of other

 musicians who performed on the Works intended to share authorship at any point in

 time. Over the relevant period, Clinton worked with “hundreds of artists” who

 performed on songs by Parliament, Funkadelic, and related bands. Ex. I, ¶ 7. Take,

 for example, the 1980 Parliament album Trombipulation. Plaintiff claims joint

 ownership of all eight sound recordings on this album. ECF No. 1-6, PageID.63. Yet

 Worrell is only credited on three of these songs. . Bedrosian, The Authorized P-Funk

 Song Reference: Official Canon of Parliament-Funkadelic, 1956-2023 (Rowman

 and Littlefield: New York, 2024. On the song “Long Way Around,” Worrell

 performed piano and synth bass, alongside twenty other individually credited


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 musicians, and the entire Detroit Symphony Orchestra. Id. The assertion Worrell

 and each of these musicians intended to be joint authors with equal rights in the

 recording is both unsupported and logically absurd. The only possible conclusion

 – which is supported by the evidence – is that Clinton/Thang employed the

 musicians (including Worrell) to perform on each of the Works, with no intent of

 equally sharing the rights.

       Additionally, courts have held that there is no mutual intent where one party

 exerts final decision-making authority over the creative input in a work. Erickson v.

 Trinity Theatre, Inc., 13 F.3d 1061, 1071 (7th Cir. 1994). The “absence of control is

 strong evidence of the absence of co-authorship.” Aalmuhammed, 202 F.3d at 1235.

       The record establishes that Clinton, not Worrell, had final decision-making

 authority over the Works. In 1978, Worrell stated that “George [Clinton] is a genius,

 the creative center. He takes the ideas of thirty musicians and they are molded into

 the One.” Ex. N (emphasis added). Likewise, in an interview about Parliament’s

 Mothership Connection album, Worrell stated that Parliament-Funkadelic’s albums

 “all depend on what concepts were in George’s head. Once he made a decision, we

 went with it.” Ex. O at 6 (emphasis added). Clinton himself testified that it was “his

 responsibility to exercise final creative control over all the acts”. Ex. I, ¶ 8. Gary

 Shider, a Parliament-Funkadelic guitarist and Rock and Roll Hall of Fame inductee,

 confirmed this: “George basically writes all the lyrics and helps us arrange it. He


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 doesn’t play an instrument; he plays ears. … He’s the overseer, the man with the

 concept.” Ex. P (emphasis added). Worrell was not a co-author; he was an individual

 who may have musically contributed to some unestablished number of the Works,

 but that does not entitle him to co-ownership of all these sound recordings. See

 Aalmuhammed, 202 F.3d at 1235 (“What [plaintiff’s] evidence showed, and all it

 showed, was that, subject to [defendant’s] authority to accept them, he made very

 valuable contributions to the movie. That is not enough for co-authorship of a joint

 work.”).

       Also relevant is Clinton’s authority to enter into contracts on behalf of the

 band. Tang, 521 F. Supp.2d at 606. The Complaint expressly alleges that it was

 Clinton who signed each recording contract on behalf of Parliament, Funkadelic, and

 “his various groups.” ECF No. 1, PageID.19. Worrell credited Clinton’s contractual

 control as “genius.” Ex. L. He stated that the contracts were “George’s way of

 tricking the record companies to record Parliament on this label, Funkadelic on

 another label, but the companies didn’t know at the time until it was too late. Same

 guys. … And then spreading it out, the other offshoot groups on other labels.” Id.

       2. There is no evidence that Worrell made independent copyrightable
          contributions to each of the Works.




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       As described above, Plaintiff makes no attempt to identify the specific

 independent copyrightable contributions that Worrell allegedly made to each of the

 Works at issue. Absent this showing, Plaintiff cannot establish co-ownership. 5

       A purported joint author must identify specific contributions that were fixed

 in a tangible medium.” Dorchen/Martin Assocs. v. Brook of Cheboygan, Inc., No.

 11-10561, 2012 U.S. Dist. LEXIS 177940, at *10 (E.D. Mich. Dec. 17, 2012) (citing

 Erickson, 13 F.3d at 1071 (7th Cir. 1994)). See also 1 Nimmer on Copyright § 6.07

 (“a party who claims to be a joint author must identify with sufficient specificity the

 details about its own contribution.”) (emphasis added) (citation omitted).

       The court’s holding in Corwin is instructive. 858 F. Supp.2d at 905. There, the

 plaintiff was a former bandmember who sought a declaration of co-ownership and

 an accounting of profits for thirty-one songs across four albums. Id. The defendant

 counterclaimed for a declaration that defendant was the sole author of the songs at

 issue. In granting summary judgment for the defendant, the court found that the

 plaintiff’s conclusory allegations failed to satisfy the Childress test of joint

 authorship. Id. at 911. Importantly, the court noted that the plaintiff did not meet his

 burden of establishing joint authorship with respect to each individual work. Id. at

 905 n.6. Like here, the plaintiff did “not make any specific arguments” as to the


 5
  Plaintiff’s own legal expert could not identify any cases where a court found a
 presumption of co-authorship based on the fact that the plaintiff was a member of
 the band at the time the sound recording was created. ECF No. 128-3, PageID.3021.
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 parties’ intent and his contributions to certain works and instead relied on “sweeping

 assertions about all thirty-one disputed songs.” Id. And unlike the Worrell Estate, the

 plaintiff even submitted an affidavit “which purport[ed] to enumerate the

 contributions Plaintiff made to each of the disputed songs.” Id. But that affidavit

 “only list[ed] contributions for eighteen songs, and [did] not even mention” all of

 the works. Id. The defendant provided a “song-by-song description of [defendant’s]

 authorship,” which satisfied the burden of establishing sole authorship. Id. at 913.

       Here, the Estate does not attempt to enumerate Worrell’s independent

 copyrightable contributions on any of the works. There is no evidence that Worrell

 performed on or somehow contributed to each of the 264 songs at issue, let alone

 that each of those contributions went beyond mere “ideas, refinements, [or]

 suggestions.” Id. at 910 (citing Erickson, 13 F.3d at 1071). Notably, the record is

 bereft of evidence of mutuality of intent, especially where, as here, the Complaint

 itself rather explicitly accuses Clinton of cheating his bandmates and unfairly

 reserving unto himself the financial benefits of his bands’ work. If Plaintiff’s decades

 of slander and character assassination are to be believed, it beggars the imagination

 that George Clinton could have intended anyone but himself to be regarded as a co-

 author of the works at issue. The Court should reject Plaintiff’s “sweeping

 assertions” of co-ownership and grant summary judgment in favor of Defendants.

    C. DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT FOR
       WORKS TRANSFERRED IN THE SETTLEMENT AGREEMENT
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          In a document that Plaintiff withheld from Defendants, plaintiff transferred to

 Westbound any and all ownership rights the Estate has in a substantial portion of the

 sound recordings at issue. As a result of that transfer, Plaintiff no longer has the right

 to obtain the relief it seeks. Defendants are entitled to judgment as a matter of law.

          1. Under the Settlement Agreement, the Estate Retains No Ownership
             Interest in the Transferred Works

 24.      On December 27, 2023, the Estate and Westbound entered a Settlement

 Agreement and Release. In it, the Estate agreed to dismiss Westbound from this

 lawsuit. See ECF No. 112-6, PageID.2061, ¶ 1. Critically, the Agreement also

 contains a transfer of a substantial portion of Plaintiff’s interest in this litigation to

 Westbound. It provides:

       To the extent that Worrell Estate owns and/or controls, or shall own or control, or
       otherwise deemed to own or control, any rights, title and interests in and to the
       Subject Recordings, in whole or in part (collectively, “Worrell’s Share”), Worrell
       Estate hereby irrevocably grants, assigns, and transfers to Westbound all of
       Worrell Estate’s present and future rights, title, interests, control, and benefits in
       and to Worrell’s Share of the Subject Recordings, throughout the universe,
       including, without limitation, any and all undivided copyright ownership rights,
       title, and interests in and to Worrell’s Share of the Subject Recordings, and the
       rights of copyrights therein and thereto, now or hereafter existing, whether
       vested, contingent or inchoate, for the full term of the copyrights and any
       renewals, extensions, continuations, restorations and reversions thereof.

 Id. at 3, ¶ 4(b). That transfer entitles Defendants to summary judgment as to any of

 the Works so transferred.



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       2. Defendants Are Entitled to Summary Judgment on Count II as to the
          Transferred Works

       Count II of the Complaint provides that “[a]s a co-owner of the copyright in

 and to the Works, Plaintiff seeks an accounting of the books and records of

 Defendants and Record Label Defendants related to all royalties, advances, and other

 monies received for the sale and exploitation of the Works from any and all sources.”

 ECF 1, PageID.20-21 (emphasis added). As Plaintiff pled its case, its entitlement to

 an accounting derives from its status as co-owner of the Works. But, after the

 Agreement, Plaintiff isn’t a co-owner of those Works any more, if it ever was.

       The law is clear that, after a transfer of the kind effected in the Agreement,

 only the transferee (here, Westbound) has the right to seek an accounting; the

 transferor (here, Plaintiff) no longer possesses such a right. See, e.g., 1 Melville B.

 Nimmer et al., Nimmer on Copyright § 6.12(C)(1) (2023); Howard v. Weston, 354

 F. Appx. 75 (5th Cir. 2009) (plaintiff denied accounting because he transferred his

 interests and “cannot bring an action to enforce the copyright rights he no longer

 owns”); Vástago Producciones, LLC v. Heaven Publ’g LLC, No. 4:23-cv-01432,

 2024 U.S. Dist. LEXIS 15273, at *9 (S.D. Tex. Jan. 4, 2024) (plaintiff who

 transferred rights “retained no right to force an accounting”); Roberts v. Gordy, 359

 F. Supp.3d 1231, 1239 (S.D. Fla. 2019) (citing Fathers & Daughters v. Lingfu

 Zhang, 284 F. Supp.3d 1160, 1164 (D. Or. 2018) (“After a copyright owner has fully

 transferred an exclusive right, it is the transferee who has standing to sue for that
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 particular exclusive right. . . . The former copyright owner no longer has standing to

 sue for the rights that have been transferred.”)). Under that precedent, Defendants

 are entitled to summary judgment on Count II as to the transferred Works.

       3. Defendants Are entitled to Summary Judgment on Count I as to the
          Transferred Works

    Count I seeks a declaratory judgment that Mr. Worrell was a co-creator of the

 Works. ECF 1, PageID.19-20. Plaintiff seeks such a determination to resolve the

 continuing dispute “concerning whether or not Plaintiff has a continuing right to

 receive royalties for the exploitation of the sound recordings containing Mr.

 Worrell’s performances.” Id. at 19. To the extent there are any rights or benefits of

 co-authorship other than the financial rights attendant to co-ownership, they are

 never mentioned in the Complaint, certainly not as any basis for seeking the

 declaratory judgment. Because Plaintiff no longer owns the financial rights that were

 the basis for the declaratory judgment it is seeking, Defendants are entitled to

 summary judgment on Count I as to the transferred Works.

    D. PLAINTIFF RELEASED DEFENDANTS FROM LIABILITY

       On December 27, 2023, Plaintiff, on behalf of itself and related parties,

 entered into the Agreement with Westbound that, among other things:

       forever release[d], discharege[d] and h[e]ld harmless Westbound and
       all of Westbound’s . . .employees . . . from all causes of action, suits,
       debts, dues, sums of money, accounts, reckonings, bonds, bills,
       specialties, covenants, contracts, controversies, agreements, promises,
       variances, trespasses, damages, judgments, extents, executions, claims
                                          37
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       and demands whatsoever, in law or equity, which the Worrell Parties
       ever had, now has or hereafter can, shall or may have for, against the
       Westbound Parties, upon or by reason of any matter, cause or thing
       whatsoever, from the beginning of the world through the date of this
       Agreement. (Emphasis supplied.)
       Westbound provided a similar release to Plaintiffs with one very significant

 exception. Westbound specifically carved out an exception in paragraph 2(d)(ii) that

 made clear that Clinton and Thang were not to be included among the Parties

 affiliated with Plaintiff that Westbound released. The parties included no parallel

 carve out excluding Defendants from parties released by Plaintiff. The Agreement

 included other exclusions from the release language involving publishing copyrights

 for the musical compositions or their ability to enforce the agreement. Clearly, then,

 the parties to the release knew how to include and exclude specific claims and parties

 from their release. By virtue of his indisputable employment reflected on contracts

 signed by Westbound’s owner in February and March 1974, Clinton is a released

 party as the release applies to “all” Westbound employees for “any matter, cause or

 thing whatsoever from the beginning of the world through the date of this

 Agreement.” The language does not apply to any specific category of Westbound

 employees like “current” or “hourly” or “salaried” or “executive.” Rather, the word

 “all” is used, which necessarily includes past as well as current employees, a fact

 underlined by the application of the release to acts extending to “the beginning of

 the world.” There is no equivocation in the language the Parties consciously chose.



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       This Court dealt with a nearly identical set of facts in Cochran v. Ernst &

 Young, 758 F. Supp. 1548 (E.D. Mich. 1991), a case in which plaintiff entered into a

 settlement and release with the Wayne County Employee Retirement System

 (“WCERS”) in two unrelated state court actions in which WCERS was defendant.

 The released parties included WCERS, its governing board, and its “associates” and

 “consultants” from “any and all claims, demands, actions, damages, or liability . . .

 against RELEASED PARTIES predating the execution. . .” of the release.

 Subsequently, Plaintiff filed a separate and unrelated action for entirely different

 claims against the WCER’s accounting firm and trustee bank. Id. at 1552.

       The Court granted Defendant’s motion to dismiss for the accounting firm and

 the trustee bank, finding that both were “consultants” and “associates.” 6 In doing so,

 the Court found the above language unambiguous and, therefore, not open to

 construction. Id. at 1554. Accordingly, the Court enforced the document as written,

 noting that “[i]f the contract terms are not ambiguous, then contradictory inferences

 that may be drawn are subjective and irrelevant.” Id. (citations omitted). The Court

 also explicitly refused to rely on “supplementation from extraneous sources” of

 parole evidence. Id. The Court further rejected Plaintiff’s arguments that he did not

 intend to release the defendants and that he received no consideration directly from



 6
       The Court, however, applied the release to the claims against them on the
 theory that both were “associates” and “consultants” of WCERS. Id at 1553.
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 them in exchange for his release. Id. at 1554-55. In fact, this Court sanctioned

 Plaintiff for these arguments. Id.

       Roomska v. Opper, 234 Mich. App. 512 (1999) is in accord. It involved a car

 accident where plaintiff had claims against two drivers and settled with one driver

 and their insurer, releasing them and “all other parties, firms or corporations who are

 or may be liable.” Id., at 513. The Court of Appeals held that, because this language

 clearly applied to the other driver and its insurer, they were released and that parole

 evidence of intent was irrelevant. Shay v. Aldrich, 487 Mich. 648 (2010) overruled

 Roomska only to the extent it could be read to deny the use of parole evidence where

 a release contained latent ambiguities. Two weeks later, to erase any doubt as to

 Roomska’s continuing validity after Shay, the Court of Appeals in White v. Taylor

 Dist. Co., 289 Mich. App. 731 explicitly relied on it after acknowledging Shay, Id.,

 at 735, affirming that, absent ambiguities, the release applied.

    IV. CONCLUSION
       The Court should grant summary judgment to the Defendants.
                                    Respectfully submitted:
                                    SCHENK & BRUETSCH PLC
                                    By: /s/ James P. Allen, Sr.
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                                    March 26, 2025
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                           CERTIFICATE OF SERVICE

       I hereby certify that on March 26, 2025, I electronically filed the foregoing

 paper with the Clerk of the Court using the ECF system, which will send notification

 of such filing to the attorneys of record.



                                         /s/Veronica Sanford




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